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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        ORDER REGARDING ENTRY OF
                                        This Order Relates To:                              FINAL JUDGMENT OF DISMISSAL
                                  10                                                        WITH PREJUDICE AS TO CERTAIN
                                        Crago, d/b/a/ Dash Computers, Inc., et al. v.       DEFENDANTS
                                  11    Mitsubishi Electric Corporation, et al., Case
                                        No. 14-CV-2058 JST
                                  12
Northern District of California
 United States District Court




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                                  14          The Court intends to enter final judgments of dismissal with prejudice as to defendants
                                  15   Thomson SA (now known as Technicolor SA), Thomson Consumer Electronics, Inc. (now known
                                  16   as Technicolor USA, Inc.), and Thomson Displays Americas LLC (now known as Technologies
                                  17   Displays Americas LLC).
                                  18          Any party objecting to entry of those defendants’ proposed forms of judgment, see ECF
                                  19   Nos. 4091-4, 4091-5, must file an objection within ten days of the date of this order. No party is
                                  20   required to file anything in response to this order. If the Court receives no response, it will enter
                                  21   the two proposed judgments in their current form.
                                  22          IT IS SO ORDERED.
                                  23   Dated: January 26, 2016
                                                                                         ______________________________________
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                                                                                                       JON S. TIGAR
                                  25                                                             United States District Judge

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